WAYMO LLC,

                                                  3:17-cv-00939-WHA




UBER TECHNOLOGIES, INC.,
OTTOMOTTO LLC; OTTO TRUCKING LLC,




      Katharine R. Ciliberti
the Illinois Supreme Court
                                    Uber Technologies, Inc.
                                                  Debra Grassgreen




 Jenner & Block LLP                         Pachulski Stang Ziehl & Jones
 353 North Clark Street                     150 North California Street, 15th Floor
 Chicago, Illinois 60654-3456               San Francisco, California 94111-4500

 (312) 840-7292                              (415) 217-5102

 kciliberti@jenner.com                       dgrassgreen@pszjlaw.com


                                                                             6308753




         12/11/20                           /s/ Katharine R. Ciliberti




                                                Katharine R. Ciliberti
